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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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Civil Action No. 21 MC 92 (SAS)

IN RE INITIAL PUBLIC OFFERING

SECURITIES LITIGATION 01 Civ. 7002 (SAS)

This Document Relates To:

In re Equinix, Inc. IPO Sec. Litig.

 

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ORDER AND FINAL JUDGMENT

On the l()ih day of September, 2009, a hearing having been held before this Court to
determine: (l) whether the terms and conditions of the Stipulation and Agreement of Settlement
dated April l, 2009 (the “Stipulation”) are fair, reasonable, and adequate for the settlement of all
claims asserted by the Settlement Classes against the Defendants in the respective operative
Complaints now pending in the Actions in this Court (including the above-referenced Action)
under the captions listed on Exhibit A to the Stipulation, including the release of the Defendants
and the Protected Persons from the Settled Claims, and should be approved; (2) whether
judgment should be entered dismissing the Complaints as against the Defendants in each of the
respective Actions only, on the merits and with prejudice in favor of the Defendants and as
against all persons or entities who are members of the respective Settlement Classes in such
Actions who have not requested exclusion therefrom; (3) whether to approve the proposed
Designation and Plan of Allocation as a fair and reasonable method to allocate the settlement
proceeds among the cases and the members of the Settlement Classes; (4) whether and in what
amount to award Plaintiffs’ Counsel fees and reimbursement of expenses; and (5) whether and in
what amount to award the proposed Settlement Class Representatives and/or Lead Plaintiffs
reasonable time and expense reimbursement (including lost wages) incurred as a result of their

representation of the Settlement Classes (“PSLRA Award Requests”). The Court having

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considered all matters submitted to it at the hearing and otherwise; and it appearing that a notice
of the hearing substantially in the form approved by the Court was mailed to all persons or
entities reasonably identifiable who purchased or otherwise acquired the Subj ect Secun`ties set
forth on Schedule 1 to the Notice of Pendency and Proposed Global Settlement of 309 Class
Actions, Motion for Approval of Settlement, Plan of Allocation, Attorneys’ Fees and Expenses,
PSLRA Awards of Reimbursement of Representatives’ Time and Expenses and Settlement
Faimess Hearing (the “Settlement Notice”) in the date ranges set forth in said Schedule l (the
“Settlement Classes” or “Settlement Class Periods”), as shown by the records of the lssuers’
transfer agents at the respective addresses set forth in such records, and that a summary notice of
the hearing substantially in the form approved by the Court was published in the national
editions of T he Wall Street Journal, USA Today, and The New York Times, and once over the PR
Newswz're pursuant to the specifications of the Court, and copies of the Settlement Notice were
mailed to all persons or entities who were identified as potential class members in connection
with the previously terminated Settlement or who requested copies as a result of the publication
notice or otherwise, and copies of the Settlement Notice were also made available at
www.iposecuritieslitigation.com; and the Court having considered and determined the fairness,
reasonableness and adequacy of the Settlement, the proposed Designation and Plan of
Allocation, and the fairness and reasonableness of the award of attorneys’ fees and expenses
requested and the PSLRA Award Requests; and all initial capitalized terms used herein having
the meanings as set forth and defined in the Stipulation.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

THAT:

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l. The Court has jurisdiction over the subject matter of this Action, the Lead
Plaintiff(s), Proposed Settlement Class Representative(s), all Settlement Class Members, and the
Defendants, in this Action.

2. The Court finds for the purposes of the Settlement only that the prerequisites for
certification of this Action as a class action under Rule 23 (a) and (b)(3) of the Federal Rules of
Civil Procedure have been satisfied in that in this Action: (a) the number of Settlement Class
Members herein is so numerous that joinder of all members thereof is impracticable; (b) there are
questions of law and fact common to the members of the Settlement Class herein; (c) the claims
of the Settlement Class Representative(s) herein are typical of the claims of the Settlement Class
sought to be represented; (d) the Settlement Class Representative(S) and Plaintiffs’ Executive
Committee have fairly and adequately represented, and will fairly and adequately represent, the
interests of the Settlement Class herein; (e) questions of law and fact common to the remaining
members of the Settlement Class herein predominate over questions affecting only individual
remaining members of the Settlement Class herein; and (f) a class action is superior to other
available methods for the fair and efficient adjudication of the remaining controversy in this
Action.

3. Pursuant to Rule 23 of the F ederal Rules of Civil Procedure and for the purposes
of the Settlement only, this Court hereby finally certifies this Action as a class action on behalf
of all persons who purchased or otherwise acquired the common stock (the “Subj ect Security”)
of Equinix, lnc. (“Equinix”) during the period August lO, 2000 through December 6, 2000 (the
“Equinix Settlement Class”). Excluded from the Equinix Settlement Class herein are: (a) each
Person, other than a Natural Person, that was identified as a recipient of an allocation of shares

from the “institutional pot” in the IPO or Other Charged Offering of any of the 309 Subj ect

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Securities, according to a list derived from the final “institutional pot” list created at the time of
each IPO or Other Charged Offering by the lead Underwriter in that Offering (“Excluded
Allocants”); (b) (i) each Person that currently is or previously was a named defendant in any of
the 309 Actions (hereafter “Named Defendant”); (ii) any attorney Who has appeared in the
Actions on behalf of a Named Defendant; (iii) members of the immediate family of any Named
Defendant, (iv) any entity in Which any Excluded Allocant or Named Defendant has or during
any of the class periods had a majority interest; (v) the legal representatives, heirs, successors or
assigns of any Excluded Allocant or Named Defendant; and (vi) any director, officer, employee,
or beneficial owner of any Excluded Allocant or Named Defendant during any of the Settlement
Class Periods. Notwithstanding the prior sentence, a person shall not be excluded from the
Equinix Settlement Class herein merely by virtue of his, her or its beneficial ownership of the
securities of a publicly-traded Excluded Allocant or Named Defendant, Also excluded from the
Equinix Settlement Class herein are the persons and/or entities who requested exclusion from
every Settlement Class as listed on Exhibit l annexed hereto.

4. Pursuant to Rule 23 of the F ederal Rules of Civil Procedure and for the purposes
of the Settlement only, the Proposed Settlement Class Representative(s) herein, Walter
Challenger - BC, lnc., is finally certified as Settlement Class Representative(s) in this Action;
and the firms comprising the Plaintiffs’ Executive Committee are finally certified as Class
Counsel in this Action.

5. Notice of the pendency of the Actions as class actions and of the proposed
Settlement was given to all Members of the Settlement Classes in all 309 Actions who could be
identified with reasonable effort, including all members of the Equinix Settlement Class herein.

The form and method of notifying the Equinix Settlement Class of the pendency of this Action as

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a class action and of the terms and conditions of the proposed Settlement, including the use of a
separate website to identify the alleged artificial inflation amounts and end of Class Period
holding price for the Subject Security, met the requirements of Rule 23 of the Federal Rules of
Civil Procedure, Section 27 of the Securities Act of 1933, 15 U.S.C. § 772-1(a)(7) as amended
by the Private Securities Litigation Reform Act of 1995, Section 21D(a)(7) of the Securities
Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(7) as amended by the Private Securities Litigation
Reform Act of 1995, due process, Rule 23.1 of the Local Civil Rules of the United States DiStrict
Courts for the Southern and Eastern Districts of New York, and any other applicable law,
constituted the best notice practicable under the circumstances, and constituted due and sufficient
notice to all persons and entities entitled thereto.

6. The Settlement is approved as fair, reasonable and adequate for the settlement of
this Action, and the parties to the Stipulation are directed to consummate the Settlement in
accordance with the terms and provisions of the Stipulation.

7 . Except to the extent waived by all parties in writing, the Settlement is conditioned
on entry of an Order and Final Judgment approving the settlements in each and every one of the
Actions.

8. The Complaints in this Action, which the Court finds were each filed on a good
faith basis in accordance with the Private Securities Litigation Reform Act of 1995 (the
“PSLRA”) and Rule 11 of the Federal Rules of Civil Procedure, based upon publicly available
information, are hereby dismissed as against all Defendants in this Action and the Bankrupt
lssuers, With prejudice and, except to the extent costs are provided in the Stipulation, without

costs.

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9. Except as provided in paragraphs 10 and 11 below, upon the Effective Date, Lead
Plaintiff(s), the Settlement Class Representative(s) and the Equinix Settlement Class Members in
this Action, on behalf of themselves, their heirs, executors, administrators, successors and
assigns are hereby permanently barred and enjoined from filing, commencing, prosecuting,
intervening in or participating in, any and all Settled Claims against any and all of the Protected
Persons in the Actions or in any other proceeding The Settled Claims are hereby compromised,
settled, released, discharged and dismissed as against the Protected Persons on the merits and
with prejudice by virtue of the proceedings herein and this Order and Final Judgment.

10. Lead Plaintiff(s), Proposed Settlement Class Representative(s) and the Equinix
Settlement Class Members, upon the Effective Date, are hereby deemed to have covenanted not
to sue the Bankrupt Issuers or Lehman or prosecute any action against the Bankrupt lssuers or
Lehman with respect to any Bankrupt lssuers and Lehman Resolved Claims; provided, however,
that in the event that any Bankrupt lssuers and/or Lehman asserts a claim against any Lead
Plaintiff, Proposed Settlement Class Representative or Equinix Settlement Class Member that
otherwise would have been released pursuant to this Paragraph 10, such Lead Plaintiff, Proposed
Settlement Class Representative or Equinix Settlement Class Member shall be permitted to assert
defensively (up to the amount of any Bankrupt Issuer’s or Lehman’s claim, as the case may be)
all matters against any Bankrupt lssuer and/or Lehman that would otherwise have been barred or
released pursuant to this Paragraph

11. The release and injunction referred to in Paragraphs 9 and 10 above shall not bar
any Equinix Settlement Class Member from asserting in any other proceeding that conduct with
regard to the allocation of any shares to or by Protected Persons is relevant evidence in such

other proceeding, but shall bar Equinix Settlement Class Members in their own right from

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asserting a Settled Claim against the Protected Persons in that other proceeding The Protected
Persons shall retain all rights and defenses with regard to any Such assertion.

12. Upon the Effective Date, each of the Protected Persons (except Lehman and the
Bankrupt lssuers) are hereby deemed to have released and forever discharged the Settled
Defendant Claims in this Action, against any Equinix Settlement Class Members, directors and
officers of any Equinix Settlement Class Member, and the present and foirner agents, attorneys
and employees of any Equinix Settlement Class Member, acting in such capacity, and each of
their respective successors and assigns to the fullest extent permitted by law.

13. Upon the Effective Date, each of the Protected Persons (except Lehman and the
Bankrupt lssuers) is hereby deemed to have released and forever discharged the Settled Cross
Defendant Claims against any other Protected Person, to the extent described in Paragraphs 26
and 27 of the Stipulation, to the fullest extent permitted by law. Upon the Effective Date, the
Protected Persons are, to the fullest extent permitted by law, deemed to covenant not to sue the
Bankrupt Issuers and/or Lehman and/or a Protected Person or prosecute any action against the
Bankrupt Issuers and/or Lehman and/or a Protected Person with respect to any Settled Cross
Defendant Claims; provided, however, that in the event that a Bankrupt Issuer and/or Lehman
and/or a Protected Person asserts a claim against any Protected Person that otherwise Would have
been released pursuant to this Paragraph, such Protected Person shall be permitted to assert
defensively (up to the amount of the Bankrupt lssuer’s and/or Lehman’s and/or the Protected
Person’s claim) all matters against the Bankrupt lssuers and/or Lehman and/or the Protected
Person that would otherwise have been barred or released pursuant to this Paragraph.

14. To the fullest extent permitted by law, the Protected Persons are hereby

discharged from all Claims Over by any person or entity, whether arising under state, federal or

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common law, based upon, arising out of, relating to, or in connection with the Settled Claims of
any Equinix Settlement Class Member. To the fullest extent permitted by law, the Court hereby
bars, enjoins and restrains commencement, enforcement or assertion of all such Claims Over: (a)
against the Protected Persons by any person (except Lehman); and (b) by the Protected Persons
(except Lehman) against any person or entity.

15. To effectuate the protection of Protected Persons contemplated by Paragraph 14
and to compensate for any impairment of any person’s interest in barred Claims Over, the Court
orders that any judgment or award obtained by any shareholder of an lssuer or an lssuer on any
claim arising out of or reasonably flowing from the conduct alleged to be wrongful in these
Actions (except for Section 16(b) claims against any Defendant in litigations previously filed as
of the date of execution of the Stipulation), in this Court, in any federal or state court, or in any
other court, arbitration proceeding, administrative agency proceeding, or other forum in the
United States or elsewhere, including but not limited to claims against Lehman, shall be reduced
by the greater of (i) the amount that corresponds to the percentage of proportionate fault of
Protected Persons adjudged responsible or (ii) the amount allocated to the Action against that
lssuer under the Plan of Allocation in this Settlement

16. The Defendants have denied and continue to deny any Wrongdoing whatsoever
This Order and Final Judgment shall in no event be construed or deemed to be evidence of or an
admission, presumption or concession on the part of any Protected Person of any fault, liability,
coverage or wrongdoing as to any facts or claims asserted in the Actions (or any infirmity in the
defenses that they have asserted or could assert in the Actions), or any other actions or
proceedings, and shall not be interpreted, construed, deemed, invoked, offered, or received in

evidence or otherwise used against a Protected Person in the Actions, or in any other action or

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proceeding, whether civil, criminal or administrative Notwithstanding anything contained herein
to the contrary, this Order and Final .ludginent may be used by any Person to enforce its terms.

17. The proposed Plan of Designationl and Plan of Allocation2 are approved as fair
and reasonable, and Plaintiffs’ Executive Committee and the Claims Administrator are directed
to administer the Stipulation in accordance with their terms and provisions.

18. The Court finds that all parties and their counsel have complied with each
requirement of Rule 11 of the Federal Rules of Civil Procedure as to all proceedings herein.

19. Pursuant to this Court’s October 5, 2009 Opinion and Order, attomeys’ fees in the
amount of one-third (33~1/3 %) of the Settlement amount, net of $46,941,556.96 of litigation
expenses, $27,500,000 of anticipated Administration fees, and a total of $1,303,593.05 in
PSLRA reimbursements awarded to specific plaintiffs, were awarded to Plaintiffs’ Counsel.
Attached hereto as Exhibit 2 is a list showing, for each of the Actions covered by this Court’s
October 5, 2009 Opinion and Order: (i) the Total Designation Amounts for each of the Actions
covered by this Court’s October 5, 2009 Opinion and Order; (ii) the proportionate amounts of the
$27,500,000 reserved for the Administrators’ fees; (iii) the PSLRA Awards, and (iv) the
proportionate amounts of the $46,941,556.96 of litigation expenses awarded ln this Action,
Plaintiffs’ Counsel are awarded the amounts of attorneys’ fees and litigation expenses as shown

on Exhibit 2 for this Action, which sum the Court finds to be fair and reasonable3 The foregoing

 

l Schedule 2 to Exhibit 1 to Exhibit C of the Stipulation.

2 As set forth in the Notice (Exhibit 1 to Exhibit C of the Stipulation) beginning at page 14.

3 No adjustment shall be made for any spillover to or from this Action’s Total Designation

Amount, as any spillover amount will ultimately go to Members of the Settlement Classes, net of
the present fee award only, in which case the portion of the fee attributable to such spillover shall
be deemed paid from the spillover’s recipients There shall be no reversion to Defendants by
virtue of any spillover, nor shall any additional fees be paid to Plaintiffs’ Counsel upon any
spillover.

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fees and expenses shall be paid to Plaintiffs’ Executive Committee from the Gross Settlement
Fund with interest from the date such Settlement Fund was funded to the date of payment at the
same net rate that the Settlement Fund eams. The award of attorneys’ fees shall be allocated
among Plaintiffs’ Counsel by, and in a fashion which in the opinion of, Plaintiffs’ Executive
Committee, fairly compensates Plaintiffs’ Counsel for their respective contributions in the
prosecution of this Action.

20. In making this award of attorneys’ fees and reimbursement of expenses to be paid
from the Gross Settlement Fund, the Court has considered the reasons and facts discussed at
length in the Court’s October 5, 2009 Opinion and Order, including that:

a. Plaintiffs’ Counsel has created a settlement fund Which is reflected in the
Total Desigiiation Amount for this Action shown on Exhibit 2 attached hereto, that is already on
deposit and earning interest, and that numerous Equinix Settlement Class Members who submit
acceptable Proofs of Claim will benefit from the Settlement created by Plaintiffs’ Counsel;

b. Over seven million copies of the Settlement Notice were disseminated to
putative Settlement Class Members in all 309 Actions, including 16,172 mailed with
“Frontispieces” specifically directed to members of the Equinix Settlement Class, indicating that
Plaintiffs’ Counsel were moving for attomeys’ fees in the amount of up to 33-1/3% of the Gross
Settlement Fund, plus interest, and for reimbursement of expenses in an amount of
approximately $56 Million, plus interest, and approximately only 140 objections, representing
less than a hundredth of one percent of all Settlement Classes, were filed against the Settlement
and/or the fee and expense request set forth in the Settlement Notice;

c. Plaintiffs’ Counsel have conducted the litigation and achieved the

Settlement with skill, perseverance and diligent advocacy;

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d. The action involves complex factual and legal issues and was actively
prosecuted over eight years and, in the absence of a settlement, would involve further lengthy
proceedings with uncertain resolution of the complex factual and legal issues;

e. Had Plaintiffs’ Counsel not achieved the Settlement there would remain a
significant risk that the Settlement Classes may have recovered less or nothing from the
Defendants;

f. Plaintiffs' Counsel have committed hundreds of thousands of hours in
litigating the 309 Actions and ultimately achieving the Settlement; and

g. The amount of attorneys’ fees awarded and expenses reimbursed from the
Settlement Fund are fair and reasonable under the circumstances of this Action.

21. Pursuant to the PSLRA, Walter Challenger is hereby awarded 33,750.00 as
reasonable time and expense reimbursement (including lost wages) incurred as a result of
representing the Equinix Settlement Class in this Action.

22. In granting these PSLRA Award Requests to be paid out of the Gross Settlement
Fund, the Court has considered and found the reasons and facts discussed at length in the Court’s
October 5, 2009 Opinion and Order.

23. Exclusive jurisdiction is hereby retained over the parties and the Equinix
Settlement Class Members for all matters relating to this Action, including the administration,
interpretation, effectuation or enforcement of the Stipulation and this Order and Final Judgment,
including any application for fees and expenses incurred in connection with administering and
distributing the settlement proceeds to the members of the Equinix Settlement Class, and for all

further proceedings herein relating to the Settlement.

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24. Without further order of the Court, the parties may agree to reasonable extensions
of time to carry out any of the provisions of the Stipulation.
25. The Clerk of the Court is directed to file a true copy of this Order and Final

Judgment in this Action.

Dated: New York, New York

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HQNORAB SHIW,§C ` LIN
UNITED STA\I`ES DISTRICT JUDGE

   

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EXHIBIT l

INRE INITIAL PUBLIC OFFERING SECURITIES LITIGA TION
CIVIL ACTION NO. 21 MC 92 (SAS)

EXCLUSION REOUESTS - ALL SETTLEMENT CLASSES

Donna R. Adams

Fredric L. Aibel (Trust Acct.)

Brad Anselmo

Donner T. Bailey (Deceased) (]RA Acct.)

Richard L. Balser (PMA Acct.)

Richard G. Barrows (]RA Acct.)

Marcelle G. Baumbach

J ames D. Becker

Karen Belsky & Melvin Belsky (Trust Acct.)

Daniel & Mary Ann Bernardi (Joint Acct.)

Mary Ann Bernardi ([RA Acct.)

Noreen Betten & Paul Betten (Joint Acct.)

Gerald T. Bird & Kristine l. Bird (Joint Acct.)

Markus Blechner

Anthony D. Bogus & Margaret L. Bogus (Trust Acct.)
Jeffrey J. Bradt

Timothy K. Brady

Dwight G. Brainard (lndividual Acct.)

Dwight G. Brainard & Gwendolyn H. Brainard (Joint Acct.)
Eric S. Braley (Roth IRA Acct.)

Marco L. Brew

Robert Browder

lva H. Brown (lndividual Acct.)

Iva H. Brown (Trust Acct.)

Kevin Brown ([RA Acct.)

Garth R. Budlong

Jean M. Buescher & Robert E. Buescher (Deceased) (Joint Acct.)
Robert Calamari (Trust Acct.)

Angela Cappiello & Augustino Cappiello (Joint Acct.)
Henreitte Clapp & John R. Clapp (Joint Acct.)

John R. Clapp (lndividual Acct.)

CNN Investment Co., Inc.

Burton Cohen & Tess Cohen (Trust Acct.)

Linda R. Collings

Stanley Compton

John J. Connolly

Beverly J. Cosper (Individual Acct.)

Beverly J. Cosper & Bruce R. Cosper (Joint Acct.)

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Mary Crehan

Daniel L. Curtis

Anthony D'Agostino & Rose D'Agostino (Deceased) (Joint Acct.)
George Darwin (lndividual Acct.)

George Darwin, Viola D. Darwin, Jeffrey Darwin & Diana Leboeuf (Joint Acct.)
George Darwin & Viola D. Darwin (Joint Acct.)
Melody F. Davenport

Louis Debole & Mary Debole (Joint Acct.)

Dwane L. Decker (Deceased) & Verma Decker (Joint Acct.)
Glenn P. Deltondo & Maria R. Deltondo (Joint Acct.)
Irmgard Dern

Jerry L. Dieball (IRA Acct.)

Jerry L. Dieball & Karen L. Dieball (Joint Acct.)
Louis A. Diller (IRA Acct.)

Richard T. Dolbeare

Arthur J. Domingue, Jr. (IRA Acct.)

Dale L. Doucet & Evelyn J. Doucet (Joint Acct.)
Iraida M. Echeandia

Nancy K. Edenfield (IRA Acct.)

Sylvia M. Edriey (Roth IRA Acct.)

Arthur T. Elgin 111

Donald F. Erickson, Sr. (Deceased) ([RA Acct.)
Michael J. Fealy (IRA Acct.)

Michael A. Fiorenzo

Douglas C. Flegal (SEP-IRA Acct.)

Daun A. Fondarella & Pat J. Fondarella (Joint Acct.)
J an A. Fulks (Deceased)

George Galvan & Gloria D. Galvan (Joint Acct.)
Gary Nibbelinl< Associates

John R. Gingles (IRA Acct.)

Miu-Chu W. Gong & Phillip S. Gong (Joint Acct.)
Good Shepherd Church (Operations Acct.)

Good Shepherd Church (Building Fund Acct.)

Ruby T. Gregory

Despina Hatton & John O. Swendseid (Joint Acct.)
Arne E. Heikkila (Deceased)

Carrie L. Higo & Paul H. Higo (Joint Acct.)

Mildred A. Howard & Nelson Howard (Joint Acct.)
Jung-Hsin Hu & Danny T. Tsao (Joint Acct.)
Elizabeth J. Janiszewski (Roth lRA Acct.)

Raymond G. Jarisch

Mary N. Johnson & Russell L. Johnson (Joint Acct.)
Kevin L. 1 ones

K & A Mulzer Enterprises LP

1 on Kayyem (lndividual Acct.)

Judith W. Kielhofer & Kary D. Kielhofer (Joint Acct.)

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Bridie Kilduff

Donald A. Kissell (lRA Acct.)

R.J. Kleve (Deceased)

Koch Equity Holdings Inc.

John Kong

Carr C. Kreuger 11 (lndividual Acct.)

Carr C. Kreuger 11 & Lori L. Krueger (Joint Acct.)
Betty L. Kruchten & 1 oseph L. Kruchten (Joint Acct.)
Joseph L. Kruchten (lndividual Acct.)

Barbara Lawton & Howard E. Lawton (Trust Acct.)
Loreen E. Lejeune & Jonathan H. Wenocur (Joint Acct.)
Deeann M. Limp & Wayne E. Limp (Joint Acct.)
Aloysius W. Little & Virginia C. Little (Trust Acct.)
Gregory T. Little & Virginia C. Little (1 oint Acct.)
Tom R. Loffland (Individual Acct.)

Tom R. Loffland (Trust Acct. 1)

Tom R. Loffland (Trust Acct. 2)

George E. Loomis

Arthur F. Luetke

Michael R. Lufrano

Jennings M. Lyon

Domenica M. Macerata

Minh T. Mai (lndividual Acct.)

Minh T. Mai (Roth IRA Acct.)

Edward Makarchuk

Thomas G. Mansfield

Curtis E. Marc, Jr.

Larry Matthews

Laverne McCombs & Robert L. McCombs (Joint Acct.)
Mildred E. McLemore & Robert W. McLemore (Joint Acct.)
Robert W. McLemore (IRA Acct.)

Virginia M. McNear

Robert E. Megill (IRA Acct.)

Gail P. Miller & Richard 1 . Miller (Trust Acct.)
Lenore Miller

Yaichiro Minami (IRA Acct.)

Yaichiro Minami (Trust Acct.)

John T. Mitchell

1 ames M. Monger & Lucille M. Monger (Trust Acct.)
Parnela A. Moore

Andrca H. Mulzer

Kenneth D. Mulzer, Sr. ([RA Acct.)

Kristin J. Mulzer (Individual Acct.)

Kristin 1 . Mulzer (]RA Acct.)

Billy Murphy

Marilyn A. Murrow (IRA Acct.)

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John A. Newton 111 (]RA Acct.)

Alice B. Newton (IRA Acct.)

Gary D. Nibbelink (lndividual Acct.)

Gary D. Nibbelink & Linda A. Nibbelink (Joint Acct.)
Gary D. Nibbelink & Linda A. Nibbelink (Profit Sharing Acct.)
Linda A. Nibbelink (lndividual Acct.)

Anne M. Noonan

Talila G. O’Higgins

Bruce A. Paige & Donna H. Paige (Joint Acct.)

J ames M. Parker

David B. Pedersen & Diane S. Pedersen (Joint Acct.)
Diane S. Pedersen (lndividual Acct.)

Clara E. Perrin & Clayton J. Perrin (Trust Acct.)
Eusibius Peters

William B. Pettinger (Deceased)

Charles R. Platt

Eugene F. Pleyvak

John A. Primeau (Deceased) & Suzanne C. Primeau (Joint Acct.)
Barbara P. Radebaugh

M. Rangaraj (401K Acct.)

Boyce A. Ray (Individual Acct.)

Boyce A. Ray (IRA Acct.)

1 ames R. Reitnauer

Mark R. Rizzo

Griffen A. Rizzo (Custodial Acct.)

Lester Rose (Trust Acct.)

Dorothy D. Rupel ('l`rust Acct.)

Sterling M. Ryder

Valerie A. Saines

Patricia G. Salisbury (IRA Acct.)

Evan C. Santistevan

Barbara V. Schugt & 1-1. Dieter Schugt (Joint Acct.)
lngeborg Schuster

Nancy A. Scott (Roth IRA Acct.)

Bonnie N. Shimasal<i & Robert K. Shimasaki (Joint Acct.)
Albin ]. Sircely

J ames P. Slupe

Barton L. Small & Catherine E. Small (Trust Acct.)
Barbara J. Smith (lndividual Acct.)

Barbara J. Smith & Thomas F. Smith (Trust Acct.)
Brenda J. Smith & Nathan J. Smith (Joint Acct.)
Frances Smith (Trust Acct.)

J ames Smith (Deceased) (IRA Acct.)

Thomas F. Smith (Individual Acct.)

Raymond W. Sperring, Jr. (IRA Acct.)

Raymond W. Sperring 111

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Steven P. Stachwick

Marc G. Stalker & Salena W. Stall<er (Joint Acct.)
Marlies Starbird

Patricia S. Steele (lndividual Acct.)

Sue Steele (lRA Acct.)

Morgan Stewart

W.J. Sturm (IRA Acct.)

Eric M. Talgo (Individual Acct.)

En`c M. Talgo & Lynda Talgo (Joint Acct.)
Delena R. Tanner

Richard A. Taylor (IRA Acct.)

Mary T. Thayer

Bjom C. Tollerud & Bjorn E. Tollerud (Joint Acct.)
Bjorn E. Tollerud (Individual Acct.)

Turner Broadcasting System, Inc.

1rwin Usher (Deceased)

Jeff`rey D. Van Gundy

Deborah A. Verginia & Michael D. Verginia (Joint Acct.)
Ava N. Walker (lndividual Acct.)

Ava N. Walker (IRA Acct.)

J.W. Walker (IRA Acct.)

Jonathan H. Wenocur (Individual Acct.)

David E. West

Tony R. Whisenarit

Ralph Whited

David A. Windecker ([RA Acct.)

Windecker Family Trust

Mona M. Wolf

Charles Wright, Jr. & Frances L. Wright (Joint Acct.)
Michelle D. Wright

John C. Yancy (401K Acct.)

Arlene Yarinece & Ralph Yannece (Joint Acct.)
Youth Help Association Inc.

George E. Zeigler

Farida K. Zreik

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§.~§§§ §.§,3§ 33§ §.3~.3§ 3.§~.§~.3 03 Y<BEOW 3§§ 303
3.33._&§ §§ 23 § §.@~§ :@3§§ @~.§.~3.3 03 umwa mm
3.»$..2§ §.33,,3§ 33 E.~ § §..:mi§§ 3333 §030§0@ mm>§0<m
:w.§.m..@@§ §§ _ ,w _ § 3.3@.@_§ : 3..3§~_ § 33@.~§.3 03 m§mhm>m §><
§3~._3§ 3333 § ?.~..§.§ §.w-i__§ 53@.§3 03 < m:zm><
2 N.EQS§ 23 3._§§ 33 3.®3._2§ 3.@333 03 oevz<><
§.Soim3.~§ § .3@§.§ § _3§§ §.@.;._3§ 2.§~._ 53 300 xmz<><
A@.,..~Yw.m§ :@.@§,i.,.~§ 33 2 § E,_m§ £.§.@%3 03 200.mm?o§<
§§QY§ 3.§@§ 3.¢.§._§ §~.§._@§ 3333~3 03 200.33303<
§..3@_£§ §.§.~§ 33 §_3§§ §§§3 03 mimE:<
§N.%§_ § 3..§.3§ 33 §.@3,_:§ 3.2~.33 03 §>Ew>m 4<031"§ 3033<
333,.3§ :_MW.EQS§ 3.3§§ 3.3§3_ § 3.3\..3@3 03 wm>mm= Mm<
§_§W,_H§ §,.3@.3§ 3.@3.§ E.~§__~_ § 3.2§3.3 303502 owz§m<
93.§~. §§ §.;.~,i»§ 3.3@§ :Q.§.__@§ 3.@3¢§ 03 200.30,,33<
§33:»§ 3315§ §..3.§ 33 _ ,.3§ §.@Qmww.§ 03 <m§<
3333§ §33._@§ §f§ 33~3§ 3333 03 >0030330& mo.~o§<
§.m§if§ :,~.§._@§ 33~.§ 333 im§ 2.3_,53 03 30323032<
:~.43.3§ 23 3,.§§ 33 3..3@,.3§ 3.3@.33 03 33320 >oj<
§.E_@a§§ §.Qaw._®§ 3.3@.@ § A.S.§..@§ §.2~33 303303 303 <mo§<q<
G~.§i§,§ §.§.3~, § 3.3@.§ §.M§i§.§ 3.30.3@3 03 3003030§ §
A:»?,w..__ §§ § .Q€._w§ 334me §.?,~3§ 2.@3.33 03 mVEOBEz 2<33<
$O.w§.m.m§ ®m.-m.@~§ 3.3~.§ §3§§ vo.%@i~@m.& 300 32033<03§2200 332
2 33§§ :_ 3 3,§§ 3.¢.3..§ 3.§.@§§ 3.@3.33 303 E<e%<
§.@Qi~é§ 803@3 § 3.~3.,§ §.30_~§ ;3§3.3 03 §0030330§ Hzmdo<
2 ~.§QS§ 22 3,§§ 33 333£§ 3.3@.33 300 Y<>>Eom 330<
§.S§§ €~.2@,_3§ §.@2.._.§ §.~$.2 § 3.;333 § 200.>02@0<
Q.@..@.§..E§ §.§,_3§ §..¢.3.,:§ :Q&§§ 33§:.3 03 §Em>m §me
S~.E.~._Z§ AE.H.~.@§ S..,..w;..m § §.3~.¢.§ 23@$3 03 mm0z30m03 <3<1_0<
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§.Q§.£§ §333§ 3.~3.§ §.3§3§ 3.3~.~33 03 mzoF§om §

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3.~£,..2 § 33.3.~§ 33 333 § ;.3~33 300 333 §§
33@,_@2§ 3.§.3§ 3..3.,§ §.:a..~§ 3.2~».§3 03 3300202203 2330
3.3._§ § 3.3@~§ 3.3.§ 3.@3,_§§ 332.33 300 303:033>0
3.~.5.3®.§ 32 33 2 § 333b § 3.@~"3~§ 3.§.~33 03 §§ 2<0330
33§3.§ E._£.§§ 3.3§§ 3.33§ 3.§.3~3 03 330 3203<0202200 0<>00
3.3§3,0§ 3333 § 3.3,§ 2 M..H,.Q_. 2 § 33§33 03 3203<0…202200 33300
§.E».OS“§ 3.@;.,§§ §..~.3._3§ 3.2§3§ :.§.§.3 300 §>300
3.3§£§ 3.3~..§§ 3.~3"§ 3.33§ 3333 03 0300
3.33-,§ 3.@33§ 33 3.3§§ 3.§3.£~.3 03 330332 3<,~2002 3300
33,0_$§ 3.3~.3§ 32 §§ 3.33§ 8333 03 3200202303 320200
2 2.@.§_.2§ 3.@3,~§ 33 332¢.§ § 233 23 3<>>30@ 200032200
3333.§ 33 _.N_§ 33§,§ :“.§,.3§ 32 333 3 03 320 3032200
§.3~._§§ §._33§ 26 2 §§ 2 w§..£§ 2 .§.3.33.3 03 330>>32 3300
33§3§ 3333 § 2 23. § 223 __3§ 3.»3.§,3 §><0.3§ 330>»32 320
2 N.§QS§ 2 2 3,¢§ 33 3§.@,_:§ 3333 03 3032200 3020
3.. 2 F.~._%§ 3.§“~§ 3.§.§ 3.®3.$§ 2 3533 300 323<20
®¢,.~E.E§ 3.@33.§ 3.@3.2 § §.3~.§§ §.§.23 03 3<>>303 32<23020
3.~3§2§ 3.-§$§ 33 §§ 332 §§ 3333 3203<02202200 m20 2020:0
3.2§3@._ § 3.@3.3§ 332.2 § 2 §3§:§ 2.@§“¢§3 300 200.<320
2 ~..Ym,_m~_ § 3.3.@,_3§ 3.33§ 3_ 2 33§ 3.32.33 0322 303000200223 0323<:0
3.33,___~§ 3,§,_§ 3.:§ 3.§3§ 3333 03 352/303 332@0
253§_§§ 3.§.“3§ 3.@3.§ §.~,S._@§ 32 1333 2<20;<2333 2 303<0
23~.3~»3§ 22 333 § 33 3.¢.§,2§ 3.3@,333 300 3333 32033<0
2 ~.E@._\.§ 2 023.§§ 3.3@..@ § 3.3..2§ 3.@333 300 3200202303 335<0
323...2@§ 3.\.3.3§ 33~.§ 2 §30_3§ 3_@;.2 23 03 3032200 002<0
22 .23._3§ 3.§,_3§ 3.~§§ §.§2 § :“333 03 3333 3302<0
303.33, _ § 3.@§-§ 3.3@._§ 3333§ 333§3 03 302320<0
20.@3~3§ 3..,03..3 § 33~3.§ 3.§§§ S.QD.S@.; 03 200.>3
303§§§ 3.§_.¢.§ SO.@OQ_~._§ §..M§,w.§ 3.3_.§.3 300 3<203
3.3“2 § 2~3@§§ 3.3 § § 3.§§§ 33333 03 33 2200 3<003
233~._: § 3.§.3§ 3.»,3§ 33~2§ 323.33 03 32030203 >§,<.2<3@
2 ~.E@S§ 2 2 33§ 331§ 333 § 3.@3“33 03 03303200 2253

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1305 much ,~0 =2230=< momcoaxw .~0 =03_30=< wv.:§>< <~Emm 325qu

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§.@R..E§ G,.H§§@§ §§me 803 ~ ,_ §§ ;.S.~.Sm,; oE m§o>>§z m§m¢§m
§.Gw.$§ §.~_QR__@ 33 §.§.m§ R.§wina QE >Emzm;m
§.@_./.N§§ §.§._2 § Sw§.§ §.S,mn@§ R.NQ.§£ QE <Emaxm
§§ _ d§§ §.§d§ 33 §.§.@._m§ S.@%.S£ o&m_
G_.w.£ §: § §.E¢.~@~@ §§ § G~.¢.~E§ .%.D§§ UE mzo§<o§&< moz<moxm
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G@.¢S..%~.m@ §.Q§@§ §.~;.§ §.C%..R§ Ow.m€.~§; 5 QE m>o§
Q~.S.§§@ §.2.@.¢§ §.QE._§ §.;~._@~@ K.m:.~m§ QE §z§om
Q~..Gv$§ :@.&_@.Sr~@ §§ _ § we §§ _ ,'..,.E@ Ow.$@§o.% wE wm=@oqoz:om; m@<@zm
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Awm.v-nwwmwv §.§§§ §.SQ§ §.%§§ 3.§32.; .Eoo q<zo;<z¢§z~ oEw d
§.SQS~@ §§ _§.@ §.§.__.@ §.Q§§ Y.SS§ mzo;<o~zaz§oo E<@m
AS.@.§.S~@ Y..E.§§ 33 §.§3§ R.Ew"m§ QE xzmmm
§.3@§§ §.?Nn: § §.§.§ :~.§..w§ E.M§.§.; QE mm>§.§<m
§§Q§§ Gw§._%@ 33 §.3§§ :.@~w.:§ oz_ >z<mn§.m
G».$.~,_E§ §.§em§ SQSQ_§ §.WE._§@ E.w%”§.; QE zoo.mmo§o:¢n
Gm.&§»§ §.m.£.~@ § §.SO._E@ §.S§§ S.§.E~“; oE zoo_@oo§@
Gw;§§@ §.@2 §§ §.§.I@ §_§.S@ 3deme QE wo§om§m:oa
6@.§6§@ §.S.m§@ §.QR~,LS §§ §§ @ S.@S.£Q,$ <BE>E
§.Sw.m~§ §.§._E.@ §.§.w § §.§~§V @3@~.§& QE 2th
GN.&§@__ @ @@.§.,@§ §..§Q§ 2 T..§~§@ a.§.;£ oE MZES<:@E
: N.§@,S@ 22 Ss~.@ §..¢.H.§ §..M§.E@ S.OS.S£ QE NE>E 4<:05
®w.%@h~§@ §.§.3@ §.§.Y §.§,_2@ S.§.m§ QE oz§@ ,_<:@E
§.@B,,Y§ §.§.E@ §.S§ Q~.@En~§ €.OS.S£ §oo anz~ dEoE
§ g .@ :»Y.@ §.S,_.R§ 33 § .O _ m,_m§ S.§ ,§.; uE 5§§ A<:@E
§W.SQ_%§ § .§..::@ §.SQ§ :N.@@,_%@ S£w<.@~n; 550 ox<§@§
3 H .@3...§~@ §.3§@ §.@@~._nc @E§ §§ 535me oE §oo.m§:e<,§mc
§ _ . _ §»Nz…@ §.§.§@ Sm.-@.§ §.§._R@ S.Sm,;<; AEou >ooqozmomv oz<dn
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1395 mach .~o =or§o=< mow=omxw wo =orwoo=< 2:§>< <~Emm mom=ooxw

 

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N H~Q=HXH

 

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§¢2@"~$,§ §.§.S§ §,OOO.§ Y.§._£§ §.w~_.§_£ So@ mmo~>mmm §o§mz Q§Ez~
c @.K~§@ §..§._@~.@ §.§._§ §§ Ef@ ~3-.2$ QE mmm¢%§ 203qu QE<¢@EE
Gw.@_w._$§ §.5§~@ §..$.~..m@ Y..~€@§ S.§dm£ §Ew>w zo;<§owz~ QE§@EE
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§§ ~ §§ 63 mw§@ §.§._~ § §§ §§me R.R@,§~.§ ,Eoo mE@o,_ozmomF moz§E
§.@~m._@: § A-.EQYE §,SN.. _ .@ a _ .@%._w~@ S.§§£ .Eoo m§o»z~
2 N.EO,S@ :w,.__ 352 S_.r.,$ 3a §..§,_E@ S.SQSB QE §omz~
:~.§OS@ en d 3.§¢ 82 §.®S._¢ ~ a QO.SQS$ 550 <u;<§o»z~
m ;.@.E,.~m§ §.HE§ §.§._§ §.§,_§s 333 §§ m§o>¢mz §§ H<E§
2 ~.§O.S@ : f S.§,.V §.¢,Q.§ §,.§._: ma S.§.S¥ 623 zoa¢m§§
§.;~._§é §.$,Qm§ §.3§ §..§.._@~@ S.§.S£ QE mo<z<§
§. ~ 33 _ @ :Q§~§v §§ _ § §.S_@._~§ S.NR.S§ .Eoo @z§<oo<o¢m z<mE
§.§»§§ §.§.Y__@ §_§.§ S~.§,__@ ~ § Q,~§.~S§ oE wa<m=
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3~.§»§.@ §.9.$.~§ SQ@$.~@ §.S¢,.m§ mm.§.§w; §oo mmm@o< emmam mci
2 ~.§QS@ 23 3,_§@ §.. §.@.,_,.V §.§._E@ S.OOQS$ QE ozE&az<m
§.m§.;§ §.§..O§ §.SQ§ §§ §§ E.RQ§.; zoniqu ,50¢0 5
§ .@$._G__@ §.§,.n§ §.§..Y ANN.$.S~@ §.£O.S.£ QE mzoF<Qz:E§oo 930
…§.Y-X§ :Q§“_§ §§me Q.QXE§ :&Ed§ oE zoo.ovo@
2 w.m..§..@ §§ §.§,%@ §.@m§ A~m.w@@,.§@ S.§§E QE z§mmmo@
6~.@,%@§.§ §.Z$S.§ S~.w;.f@ §.§§§ S.$$R.~§ ozamomo A<mo»G
?@.QQQ§.~@ §.S~da.@ §.S~r§ §.§n@§ §.>S.@§»& <Ew§<@@
§.@S.~S.__@ §.§. §§ SQ§.§ §.OS.,_@:@ Y.£QS§ QE w§o>>§z xoo~o<@
§ _ .¢.@~»~Rr§ § .S§@§ §.§.§ §.DQE § owingwa QE m,~§m§»
§Qm,_~§,m@ §.EQS.§ §..Si_@ §..3.~.3§ ~m.w$“@@w~; QE w§o§mz >~Ez:om
§.EN§N@ Gw.§,@§ 32 §.§..N§ O~.£m§& .EOQ mzoi<o~z:§oo 452
§.3~,.¢ _ § Y..§,£@ 2 § _ _.§ §.Ew,_@§ €.NP.SQ.; QE mzo;<o~za§zou Szmw<d
2 vi 1th §.%§§@ §.§§ §§ 135 §.O:¢wo@§ QE mzo&¢z
§..@S.m~§ :§$.,,@Y § _ dba :@.%QN§ 3.@%2 15 ,Eoo m<m~zz
:@.MZ.S~@ §.WS,%@ §..@E.§ § .@Ss,§ m~.@&§& Eoo.§@§

Sm@.§o.¢:» G@.Bm,:&.@§ 335 §.m%.$m.; §§ SS.SQR» _.§,C §=§.BSQ §§ §§

 

Am<mv mm 02 HN .OZ ZOE.U< \=>~O

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N H~M=~.~XH

 

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232.~32332 2-.~3,§@ 33 2§3§§ :_@2@322.23 oz2 zmw>x<z
2333._3§ 232 2@_32@ 23.32..2»,22 23.~23332 332.§ 3 322 mzox§w<z
2~ 2 33._: 33 2@~_3§22@ 23.2~222 222.3~“232 3.3@~3.222 25 595 >00202¢2@§ 2222/§
2533._3§ 23~.$.@_3@ 2 2.2 §§ 23.3@.2232 3.3~.33 @z2>22 523um <22§<2>2
Q~.m§._§§ 2.2….2§§ 223 23_2.@~.32 2~22.§"2222@ 2.~3"~2.3 oz2 200_~23§5§
G~.E@,.§§ §.3@,_332 §§ 2§.2 232 223 2 s 2 2 2a 2.0§.@@3 oz2 <mEE<E
29..3@._32 @ 22.§,_332 23.~3,32 233§32 233§~3 25 mm§>mmw YYEQ§DZ<E
2633,_2@32 23.§.3@ 2333.§ 23.§,.3@ 3.§233 oz2 mm2@o2oz:oE m>mn:g
§.@.33§ §.3.».~32 23.~3.,@32 §..233222 »2..@332.3 25 §<2>2§002
3§33§ 23.23.2 § §332 23.223,,~32 22.3@.§3 oz2 02222< 2505
2l N.EO.S@ 22 333 33 2333..232 3322.33 3…2200202¢2@…; moo§mzo:
2 ~.233@ 2 w 2 3.2“32 23. 23..§ 222¢..332232 3_322.33 mm2002oz220@ E<mmm§
2~.23..§22 23 333 33 2333._2232 3.3@*22223 oz2 Hzmxm§
2 N.§@.Z@ 23. 2 333 33 23.§,.22222 3.223.33 0722 320;<022,2222>22>200 222¢22.<2
®2.3+3§ 232.223,.3@ 22.§.§ 23.¢2~,,333 3.§2$2.23 223 Ez§
23.~3,__@3,2 32 2_ 2 333me 222»32…._33 2_~.~.2§~32 33@.§3 Ez:mE <5292
22\~.23.333 233@§22 33 22~_@3,_332 @2.22233 oz2 §Em>w Eoz>§
233§@§ §.~$._~2~222 §..§.z@ 2@2.%2»2-2 23 3322~33 Y<BEOW <z§
23.332§@ 2~22..223,2 232 233 2 222 33 233 2 §§ 25 2 3333 w§o>§wz 332/52
2§.2m@,_m.2~@ 232;.3,,23 2 2.2 2 223 2~2._3,§..22 3.§”~23 ,Eoo 222
233 2 332 23.§,_£32 23.223.,2,,22 222,.3032@ 2.3.3@.§3 2@2§~<2
2332 §§ 23.$.§2 § 23.2“§32 23.~2%3@ 2_22332~.3 oz2 mmm§bm;zm 32
2..~.?.~._3§ 23.223332 23.@3.,§ §.@.2%2%232 332.§.3 Qz2 mw<222>2
233 2 333 §2.23,_22222 2332`.222@ 2..22.$.»._§2 %.352.@23 550 322
2 ~.22.22§32 2 3 333 33 3333 232 333.33 @z2 20@.:,22~2.22
2.22.32.,_3§ 23.$222§23 §.33.,32 232.23,-23 333wa 322 §<B§FE
233 2 333 2%@3.,@32 252 233 232 2532 t 333 oz2 zm>o>§mbe
Am@.m@w.@iv 23.2§3 232 33 23.@23.3222 3.32.~§3 mzo:<o2z222>22>200 m><>§EE
§.Y,._@§@ 2.~.3223~@ 2332.2@ 23_22,332 223 §.§.2.33 523 3300202220§ EBEEFE
§.-33@ 2332332 23322.,§ 2232 323 3.32.233 3200 122m,~2m;z2
23.2%..%§ 23.§,.@32 2 2.2 2 233 23_§2§~@ 23.~3§3 z§£ m>;<2,:z2 §§th

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2 ~.§Q;@ 23 3,§.@ §_~;.§ §..MS..Z@ S.@OQ.S$, Eoo §Ez_zo
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:~.£~.@R@ §.§.%@ 83 §.S§§ §§ §§ QE mméozm §o>>§z
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§.@.E§§ :,¢.§§» _ 3 §..£_m._~ § §.§QO@§ &.@Oo.~ §§ QE zoo.<§o@omz
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322 §§ §.§,~§ §..§.§ G~.§§@ Q.E~é& wmm:om Ez¢EE m~m 525 j§m§
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c O.S§_ @ §.YQ§V 33 :.~.@§d§ 3333 A.Eoo ozm§ow <H<Qo§

SQ.§QS.E G¢.@mm.§.$» §§ Y.Qm§m.; _.§b §¢,Sm§m __§b §EES$Q §§ §§
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§..Sm..&§ §.§_»§ 33 §.§._m.§ 2 .S~.G& QE Ezoo§m,~ me§-o§
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§.S@dm§ §.§.§~§ §.~§.,§ §.§3§ O~.QQ~S.B Ez¢mpz~ QEU§
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GQS®._§§ :~.w;mw§ 3.,..¢,__@.,§ §.E.Q_@§ R.Y§§ oE o~z<@¢o
2 ~.EO§§ :w:,§§ §.§.§ Sm.§._¢ § Q0.0S.S$ QE mmozm§o§ nimmo
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:m.$.@; §§ §.QO.§§ §.3@._ § AQ.QSN§ D.$§E£ AEOQ w§m$>m ~zo
€~.~.S,.-§ §.N§é § §.~S.§ §.QB§ 33 GQ.; AEOQ zo§:ozoo§mm zo
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quxe§; §.@mm.§@§ §§ G¢.Rm.§.; §§ SS.SES §§ §E=w§n §§ §§
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S~.Em~m~§ §_SB§ §..3@..@§ §§ _».@§ 3333 QE m§o>>§z w:zow
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§3~,,3§ §§ ~§§ 3.3@..§ §,.§»~§ 3,§.33 550 MWE,E<EW
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§3§@§ :~.~3,;§ 33 §.@3,.§§ 3.3_"~33 03 mmEoH§om§ 2023
§.3¢,_3§ 333 §§ 33 §.~3“~§ 3.33.33 03 m@<§ zoo§m
§.3»._@3»§ §.3~,~\.§ 3333 §33.2§ 3.2~.§3 QE §ozm:omw
3 ~ .~3.3§ §.3@3§ 3.3~.§ a 3 .EQ$§ ~@.@S.w~_.m% QE <o;wmqmw
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2 3.~,3“_ ~ § §.§3§ 3.33,_§ §.~3§§ 335va 3 oE wzo;<o~z:z§oo Hzmcm§
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m ,_ § :L : ,§ 3.3§3§ §.33.§ §_SQG§ 3_§.§~3 QE w§o>¢mz xo<mom¢
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$m.-@§~.§ 3~..§.3§ §.§.§ §.3.~._3§ ~@.@;,33 zoo wzo;<o~z:§§ou <Ez: 05§
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SR.§Q.E.E G.\..¢mm;§.$w §§ Go.m$.m$..; §§ 33333 §§ §=.Eua§ §§ §§
1395 moo,m .~o =or._muo:< mom=ooxw .~o =oraoo=< mo\:§>< <~Emm mom=o&~w

 

 

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§.Y§N§ §SQS§ §.@%.§ §. 2 §.,~§ §.SEQ.& >z 223 Eo¢:m-z§ nmbza
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6@$.2,_§§ 2§@.2§ §.W.m§ §.~£,3§ S.S§OQ$ 022 §Em>m §§
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§.@3._@~§ A§_§,O§ Q~..S§ § 2 .§~.n§ %.EY§ §ou <§EWZ<E
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Gw.§.§§ 2.§~_ § _ § 33 §.§..@§ 32 3 2 §§ EOQ.EYSQE
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§.E.¢~m~§ §.§.§ § §.Sm.§ § 2 .§»¢§ OW.E¢.SMW.; m§o>¢mz §§
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§.NR._ §§ §,.§..H § §.@~§ §_»S._@§ 3 ~ mn~%£ m§o>>§z zoo_zmzo>>
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§.£§;§ §.%Q: § §.§..m§ s m.§,_%§ 333 35 05 Ezg<o;¢m>
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CERTIFICATE OF SERVICE

l hereby certify that on the 20th day of November, 2009, l caused true and accurate copies

of the foregoing to be served by hand upon the following:

Gandolfo V. DiBlasi, Esq. lack C. Auspitz, Esq.
Sullivan & Crornwell LLP Morrison & Foerst`er LLP

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New York, NY 10004 New York, NY 10104-0050

All other counsel of record to be served by LexisNexis File & Serve or First-Class mail

//}/ /JMA¢ ij¢ft¢/-»

Matthew Bucher

